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                           EXHIBIT A
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                                                                                                  First
                                             Edwardo Munoz v. 7-Eleven, Inc.
                                                                                                  Class
                          Legal Notice       Case No. 2:18-cv-03893-RGK-AGR
                                             Kurtzman Carson Consultants LLC
                                                                                                 Postage
                                             [Address Line 1]                                    Permit
                                             [Address Line 2]
                                             [Address Line 3]
ATTENTION! If You Applied for
        Employment with
7-Eleven, Inc. from May 9, 2016
   Through the Present You                          |||||||||||||||||||||||||||||||||
                                                    Postal Service: Please do not mark barcode
        May Be Part of a
                                                    ABC-1234567-8

     Class Action Lawsuit                           First Last
                                                    Address1
        Learn More At:                              Address2
                                                    City, State, Zip Code


  www.[websiteURL].com
          Case 2:18-cv-03893-RGK-AGR Document 46-2 Filed 01/10/19 Page 3 of 3 Page ID #:304




Summary Notice
You are receiving this notice because you have been identified as a potential class member
in Edwardo Munoz v. 7-Eleven, Inc. Case No. 2:18-cv-03893-RGK-AGR, pending in the
U.S. District Court for the Central District of California. The Court has certified a Class and
a Subclass that could impact your legal rights, whether you act or not. This is only a                 FOR MORE INFORMATION, VISIT:
summary of the Full Notice. Visit www.[website].com to read the Full Notice.                                    www.[websiteurl].com
Nature of the Action. This lawsuit alleges that 7-Eleven unlawfully procured consumer
reports, or background checks, in violation of the Fair Credit Reporting Act, 15 U.S.C. §         To request exclusion, submit your signed statement that
1681, et seq. The Class Representative claims that 7-Eleven procured a consumer report            says “I wish to be excluded from Edwardo Munoz v. 7-
regarding him without providing a standalone disclosure prior to procuring his consumer           Eleven, Inc. Case No. 2:18-cv-03893-RGK-AGR” to:
report. 7-Eleven denies that it violated any laws and asserts numerous defenses. The Court
has not determined who is right. Rather, you are receiving this legal notice because your
rights may be impacted by the pending litigation.                                                   Kurtzman Carson Consultants LLC
                                                                                                    Edwardo Munoz v. 7-Eleven, Inc.
How Do I Know if I am a Class Member? You fall into the definition of the Class if you
applied for employment with 7-Eleven between May 9, 2016 and the date notice is sent to             Case No. 2:18-cv-03893-RGK-AGR
the Classes and 7-Eleven procured a consumer report regarding you where the disclosure              [Address Line 1]
and authorization form presented to you was the same disclosure that was provided to the            [Address Line 2]
Class Representative. You fall into the definition of the Subclass if you are a member of
the Class who resides in the State of California.                                                   [TOLL FREE NUMBER]
What are My Options? You can discuss the case with Class Counsel. You may also enter
an appearance though an attorney if you so desire. You may also request to be excluded,
and the Court will exclude any member who timely requests exclusion. To request
exclusion, you must mail a signed statement that says “I wish to be excluded from Edwardo          For all other inquiries, contact Class Counsel at:
Munoz v. 7-Eleven, Inc. Case No. 2:18-cv-03893-RGK-AGR” to the Class Administrator,
postmarked by [opt-out deadline]. Specific information is available at www.website.com. If          Edwardo Munoz v. 7-Eleven, Inc.
you do nothing you will be in the Classes and you will also be bound by all orders and
judgments of the Court entered under Rule 23(c)(3). If you request exclusion, you will not          Case No. 2:18-cv-03893-RGK-AGR
be able to participate in the litigation or any potential settlement.                               Class Counsel
Who Represents Me? The Court has appointed Steven L. Woodrow, Patrick H. Peluso,
                                                                                                    Woodrow & Peluso, LLC
and Taylor T. Smith of Woodrow & Peluso, LLC and Mike M. Arias and Alfredo Torrijos                 3900 East Mexico Ave., Ste. 300
of Arias Sanguinetti Wang and Torrijos LLP to be the attorneys for the Classes. These               Denver, CO 80210
attorneys are referred to as Class Counsel. You may hire your own lawyer at your own
expense.
                                                                                                    (720) 213-0676
                                                                                                    swoodrow@woodrowpeluso.com
How Do I Get More Information? For more information about the pending litigation
and a copy of the full Notice, go to www.[website].com, contact the Administrator at
[toll free #] or [Address], or call Class Counsel at 720-213-0676.                                              www.[websiteurl].com
